
Deaderick, J.,
delivered the' opinion of' the court.
The defendant Ann, was the widow pf Thomas Butler, deceased, at the time of her marriage with her present husband, defendant Edward Tighe.
During her widowhood, she rented about four acres of land belonging to her late husband’s estate, to the complainants to be used as a brick-yard; complainants executed notes for four years’ rent, at the rate of $150 per annum. They paid $100, and were sued for $50, the balance of the first year’s rent, and brought this bill to have the amount paid, refunded to them, and the balance due upon the other notes perpetually enjoined. From the admissions in the answer, it appears that the defendant Ann had no right to lease the ground for any purpose. And it further appears that since the lease, the dower of the widow *300of said Thomas was assigned, and part only of the leased premises was allotted to her, the residue going to the heirs, and that they had forbidden the use of the lot for the purposes for which it was leased.
The complainants were not bound to go on in the execution of the contract on their part by paying the rent, when it is clear they would have subjected themselves to actions of trespass if they had attempted to use the lot for the purposes for which they leased it. And they should be released from a contract which they can derive no benefit from, except at the hazard of subjecting themselves to lawsuits in which they would be mulcted in damages and costs.
The Chancellor rescinded the agreement and perpetually enjoined the . collection of the notes, and we affirm his decree with costs.
